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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




             PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ TRIAL EXHIBIT LIST

            Pursuant to the Court’s July 22, 2019 Order Modifying the Pretrial Schedule [Docket No.

     223], Federal Rule of Civil Procedure 26(a)(3) and the local rules, Plaintiffs Sony Music

     Entertainment, et al. (“Plaintiffs”) hereby submit their objections to the proposed trial exhibits of

     Defendants Cox Communications, Inc. and CoxCom, Inc. (“Cox” or “Defendants”).

            Attached hereto as Exhibit A are Plaintiffs’ objections to Defendants’ Exhibit List served

     on August 13, 2019 [Docket No. 232]. Many of the exhibits listed on Cox’s exhibit list are

     documents that are admissible when offered by Plaintiffs but are not admissible when offered by

     Cox. By objecting to Cox’s use of any exhibits at trial, Plaintiffs do not waive, and expressly

     reserve, Plaintiffs right to use or offer them into evidence for any permissible purpose. Plaintiffs

     also reserve the right to supplement or modify their objections to any exhibit based on pretrial

     rulings, rulings during the course of trial, or depending upon how Cox uses the exhibit at trial.

              In addition to the objections set forth in Exhibit A, Plaintiffs object to Defendants’

     proposed trial exhibits on the following grounds:
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    1. Plaintiffs include objections based on certain contemplated Daubert motions and motions

in limine, which may be dispositive of the objections below. Plaintiffs reserve the right to file

future motions in limine or Daubert motions, including, without limitation, to those exhibits to

which Plaintiffs have objected below. Plaintiffs further reserve the right to revise their objections

in light of the Court’s orders on such Daubert motions and motions in limine, or any other order

of the Court.

    2. Plaintiffs object to the Defendants’ proposed exhibits to the extent that they contain double

hearsay or hearsay within hearsay. For example, documents which reflect one individual relaying

the purported statements of another.

    3. Plaintiffs object to all documents to the extent that they are not properly authenticated at

trial.

    4. Plaintiffs object to all of Defendants’ proposed exhibits that include documents or

information not previously produced to Plaintiffs.

    5. Plaintiffs reserve the right to object to any exhibit not identified on Defendants’ Exhibit

List or not provided to Plaintiffs prior to the filing of these objections.

    The following chart sets forth Plaintiffs’ abbreviations for its Specific Objections:

 Fed. R. Evid.       Objection                                                      Abbreviation

 104(a)              Lack of foundation                                             F
 104(b)              Conditional Relevance                                          CR
 106                 Incomplete writing                                             Inc
 401/402             Not relevant                                                   NR
 403                 Probative value substantially outweighed by danger of 403
                     unfair prejudice, confusing the issues, misleading the jury,
                     undue delay, wasting time, or needlessly presenting
                     cumulative evidence
 408                 Inadmissible settlement communication                          408



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 Fed. R. Civ. P. Undisclosed Expert Opinion                                   UEO
 26(a)(2)
 801, 802        Hearsay                                                      H
 901               Authenticity not established                               Auth
 1006              Improper Summary                                           IS
                   Subject to Plaintiffs’ forthcoming motions in limine       MIL
                   Subject to Plaintiffs’ forthcoming Daubert motions         D
 Local Civil Rule Highly Confidential – subject to sealing                    HC
 5(H)
                   Evidence precluded by prior court order                    PCO
                   Foreign language without certified translation             FL
                   Not produced during discovery                              NP




Dated: August 29, 2019                             Respectfully submitted,

                                                   /s/ Scott A. Zebrak
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